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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS




  MARIA MOE,

            Plaintiff,                                        Civil Action No. FY
            v.

  DONALD TRUMP, in his official capacity as
  President of the United States; JAMES R.
  MCHENRY III, in his official capacity as Acting
  Attorney General of the United States; WILLIAM
  LOTHROP, in his official capacity as Acting
  Director of the Federal Bureau of Prisons,

            Defendants.




                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.         This Action is a federal constitutional challenge to Sections 4(a) and 4(c) of

Executive Order 14166, titled “Defending Women from Gender Ideology Extremism and

Restoring Biological Truth to the Federal Government,” which President Donald Trump issued

just hours after his inauguration on January 20, 2025. The Order directly targets transgender

Americans by attempting to deny them legal recognition under federal law and to strip them of

long-established legal protections. Under Sections 4(a) and 4(c) of the Order, transgender women

who are incarcerated in federal prisons will be unlawfully transferred to men’s facilities and

denied medically necessary healthcare.
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       2.      Plaintiff Maria Moe is an adult transgender woman incarcerated in a low-security

federal prison for women                                                 . Maria Moe is diagnosed

with gender dysphoria, a rare but serious medical condition and disability. The medical standard

of care for treatment of gender dysphoria is to allow a transgender person to live in a sex

different than their birth sex through counseling, medications, surgical care, and social transition.

       3.      Consistent with this standard of care, Maria Moe has lived as a woman and has

taken hormones continuously since she was a teenager. During her term of incarceration, she has

always been treated as a woman by federal correctional officials and her peers. She has never

been housed in a men’s facility and has never stopped taking hormones. Until January 23, 2025,

publicly available records from the Bureau of Prisons (BOP) identified her sex as “female.” On

January 25, the same records classified her as “male” because of the Executive Order.

       4.      On January 21, 2025, one day after Defendant Trump signed Executive Order

14166, BOP officials removed Maria Moe from the general population at                      and

placed her in the Special Housing Unit (SHU). BOP officials informed her that because of the

Order, she was being transferred to a men’s facility. Maria Moe remains in the SHU pending

transfer. She has not been permitted to have contact with others for at least four days.

       5.      If Maria Moe is transferred to a men’s facility, she will not be safe. She will be at

an extremely high risk of harassment, abuse, violence, and sexual assault. She may be subject to

strip searches by male correctional officers. She may be forced to shower in full view of men

who are incarcerated. And she will predictably experience worsening gender dysphoria, which

can lead to serious harm, including dramatically increased rates of suicidality and depression.




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        6.      Maria Moe is also at imminent risk of losing access to the medical care she needs

to treat her gender dysphoria. Executive Order 14166 singles out transgender people to deny

them essential healthcare, including medications that BOP may continue to provide to non-

transgender people. The Order categorically bans transgender healthcare regardless of medical

necessity. It prohibits prison medical providers from treating transgender patients’ gender

dysphoria on an individual basis according to independent medical judgment. This blanket ban

will deprive Maria Moe of essential medication she has taken continuously since she was a

teenager, putting her at high risk of serious harm.

        7.      Maria Moe brings claims for violations of the Fifth Amendment to the United

States Constitution; the Eighth Amendment to the United States Constitution; the Rehabilitation

Act of 1973, 29 U.S.C. § 701, et seq.; and the Administrative Procedure Act, 5 U.S.C. §§ 701–

06. Maria Moe seeks declaratory and injunctive relief to enjoin enforcement of Sections 4(a) and

4(c) of Executive Order 14166. Without the injunctive relief sought, Maria Moe will experience

irreparable injury.

                                 JURISDICTION AND VENUE

        8.      This action arises under the Constitution of the United States. This Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        9.      This Court has authority to enter a declaratory judgment and to provide

preliminary and permanent injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202, Fed. R.

Civ. P. 57 and 65, and this Court’s inherent equitable powers.

        10.     Venue is proper in this district under 28 U.S.C. § 1391(e)(1) because the Plaintiff

is domiciled in this district.



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                                            PARTIES

         11.   Plaintiff Maria Moe is a transgender adult woman. She is domiciled in

Massachusetts, where she resided prior to her incarceration and where she faced criminal

prosecution and sentencing to BOP’s custody. Maria Moe is a pseudonym.

         12.   Defendant Donald Trump is sued in his official capacity as the President of the

United States. Defendant Trump issued and will oversee the implementation of Executive Order

14166.

         13.   Defendant James R. McHenry III is sued in his official capacity as Acting

Attorney General of the United States. The Acting Attorney General oversees the Department of

Justice, including the Bureau of Prisons, and has responsibility for overseeing the enforcement

and implementation of Sections 4(a) and 4(c) of Executive Order 14166 with respect to the

Bureau of Prisons.

         14.   Defendant William Lothrop is sued in his official capacity as Acting Director of

the Federal Bureau of Prisons (BOP). The Acting Director of BOP has responsibility for

overseeing enforcement and implementation of Executive Order 14166 by all BOP staff.

                                             FACTS

  I.     Maria Moe’s Sudden and Unjustified Removal From General Population and Risk of
         Transfer to a Men’s Facility

         15.   BOP maintains separate housing facilities for men and women. With respect to

transgender women, BOP applies an individualized assessment process to determine appropriate

housing, consistent with the safety and security of all individuals. Based on this assessment,




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transgender women may be housed in women’s facilities when doing so promotes safety and

security. 1

        16.      Maria Moe has been housed in a women’s facility since her arrest. She remained

in a women’s facility through her arraignment, pre-sentence detention, and subsequent

incarceration.

        17.      On January 20, 2025, the President issued an Executive Order directing the BOP

to disregard its established policy and any associated safety and security risks concerning the

housing and care of transgender women.

        18.      Pursuant to this Executive Order, the BOP removed Maria Moe from the general

population of the women’s facility where she had been housed.

        19.      Maria Moe was subsequently placed in the SHU. She was told that the reason she

was removed from general population was because of the Executive Order.

        20.      She was also informed that she will be imminently transferred to a men’s facility

because of the Executive Order.

        21.      On January 23, 2025, Marie Moe’s publicly accessible BOP classification of her

sex was “female.” On January 25, that classification indicated “male.”

        22.      Maria Moe has no ability to contest her placement in the SHU, and BOP officials

told her she could not challenge the transfer because it was required by the Executive Order.




1
 U.S. Dep’t of Just., Transgender Offender Manual §§ 5–6 (2022), available at
https://www.bop.gov/policy/progstat/5200-08-cn-1.pdf.

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       23.     Maria Moe’s removal from general population, placement in the SHU, and

anticipated transfer to a men’s facility have caused her significant distress and raise serious and

imminent concerns regarding her safety and well-being.

 II.   Gender Dysphoria

       24.     Gender dysphoria a serious medical condition marked by the significant distress

or impairment that occurs when a transgender individual is made to live in their birth sex. The

condition is highly treatable. When left untreated, however, it causes serious physical and

emotional harms.

       25.     Scientific and medical research also shows that gender dysphoria has a

physiological and biological etiology.

       26.     The only current, medically accepted treatment for gender dysphoria is to enable a

transgender person to live in the sex different than their birth sex.

       27.     The medical and scientific community recognize well-established protocols for

supporting a person to go through gender transition, the treatment that allows a transgender

person to live in their target sex. These protocols are endorsed by the major medical and mental

health associations in the United States, including but not limited to the American Medical

Association, the American Psychiatric Association, the American Psychological Association, and

the Endocrine Society.

       28.     Under these accepted protocols, treatment for gender dysphoria can involve any

combination of social transition, medications, including hormones, and a range of surgeries. The

treatment prescribed for a particular patient depends on an individualized assessment of the




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patient’s health and needs. Gender transition care, including hormone therapy, is a highly

effective treatment for gender dysphoria.

III.   Maria Moe’s Gender Dysphoria Diagnosis and Gender Transition

       29.     Maria Moe is a               transgender woman from              , Massachusetts.

       30.     Maria Moe identified as female at a young age. This mismatch between her birth

sex and who she knew herself to be caused her significant distress, which manifested as

depression, anxiety, and lack of self-esteem.

       31.     In middle school, Maria Moe disclosed to her mother that she felt like a girl and

believed she was transgender. Her mother contacted medical and mental health providers, who

diagnosed Maria with gender dysphoria.

       32.     Maria Moe began living as female, used a female name, and was socialized as a

girl among family and friends. When she entered high school, she matriculated as a girl.

Throughout her time in high school, she was integrated in the school community as other girls.

She used the girls’ bathroom at school,



       33.     Based on the recommendations of her healthcare providers, Maria Moe began

taking hormones to treat her gender dysphoria and to allow her to live as female at around age

15. Since then, she has continuously taken hormones to treat her gender dysphoria according to

her medical providers’ judgment and advice.

       34.     Maria Moe has lived as a woman for the last     years. She is acknowledged,

accepted, and treated as a woman by her peers, her friends, her close family.




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       35.

                                                                                   she has always

been housed in a women’s facility while in federal custody. She has no violent disciplinary

history, poses no threat to her female peers, and her presence in the women’s facility has not

caused any disruption or interference with prison operations.

       36.



                                                                                         Prior to

January 20, 2025, Maria Moe was consistently receiving this medically necessary treatment and

had no reason to believe it would be terminated.

IV.    Executive Order 14166 Will Cause Maria Moe Irreparable Injury

       37.     Executive Order 14166 began causing harm to Maria Moe almost immediately.

As a result of the Order, she has already suffered significant distress. The Order also raises

serious concerns for her safety and well-being going forward.

       38.     Section 2 of the Order includes a definition of “sex” that is intentionally designed

to discriminate against transgender people. Specifically, Section 2 defines “sex” as “an

individual’s immutable biological classification as either male or female.” In turn, it defines

“male” as “a person belonging, at conception, to the sex that produces the small reproductive

cell,” and “female” as “a person belonging, at conception to the sex that produces the large




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reproductive cell.” It includes these definitions to preclude transgender people from being able to

live in a sex different than their birth sex and to deny them equal treatment.

       39.     Section 4(a) of the Order then directs federal agencies to implement this

discriminatory provision, including requiring the Attorney General to categorically bar all

transgender women from ever being housed in women’s prisons with no individualized

consideration of their safety and security. That section acknowledges that the requirement

contradicts federal regulations found at 28 C.F.R. § 115.41.

       40.     On January 21, 2025, BOP officials informed Maria Moe that because of the

Order, she would be transferred to a men’s facility. They then placed her in the SHU, where she

has no contact with others, pending transfer.

       41.     On January 25, 2025, BOP changed Maria Moe’s sex designation on publicly

available records. Prior to January 25, the same records identified Maria Moe as “female.” Now,

solely because of her birth sex, they designate her as “male.”

       42.     Maria Moe has never been housed in a men’s facility. If she is transferred to a

men’s facility, she will face serious risk of victimization and sexual violence. She will not be

safe. Evidence, research, case law, and practical experience show that transgender women

housed in men’s prisons face near constant sexual harassment and extremely high levels of

violence and sexual assault. Federal regulations recognize transgender status as a risk factor for

sexual assault. See 28 C.F.R. §§ 115.41(d)(7), 115.42(c)–(f). A 2013 study by the Department of

Justice estimated that nearly 35% of transgender inmates in state and federal prisons were

sexually assaulted between 2007 and 2012. U.S. Dep't of Justice Off. of Justice Programs, Sexual

Victimization in Prisons and Jails Reported by Inmates, 2011–12, NCJ No. 241399,



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Supplemental Table 1 (2013). 2 From 2011 to 2012, transgender people were sexually assaulted

at nearly ten times the rate for the general incarcerated population.3

          43.    In a men’s facility, Maria Moe will be at extremely high risk of rape and sexual

assault. She may also be subjected to humiliating, terrifying, and dangerous circumstances like

being strip searched by male correctional officers and forced to shower among men, with her

female body, including her breasts, exposed and vulnerable to sexual violence.

          44.    Further, Maria Moe will predictably experience a worsening gender dysphoria in

a men’s facility. She may be forced to wear men’s clothing and undergarments, prevented from

styling her hair as female, referred to as a man, and addressed by her stereotypically male former

name rather than the female name she has had for over        years. Treating a transgender woman

with gender dysphoria as a man is known to intensify dysphoria, undermine medical treatment,

and increase emotional distress, and it can precipitate self-harm.

          45.    Section 4(c) of the Order will also cause Maria Moe serious, irreparable injury.

Section 4(c) eliminates Maria Moe’s ability to continue taking female hormones to treat her

gender dysphoria and that her body has adjusted to receiving for the last     years. Specifically,

the provision requires the Attorney General to “ensure that no Federal funds are expended for

any medical procedure, treatment, or drug for the purpose of conforming an inmate’s appearance

to that of the opposite sex.”




2
    Available at https://bjs.ojp.gov/content/pub/pdf/svpjri1112_st.pdf.
3
 Compare id. (noting a 39.9% sexual victimization rate for transgender people from 2011 to
2012), with the full report at 6 (reflecting a 4.0% rate of sexual victimization in the general
prison population from 2011 to 2012), available at
https://bjs.ojp.gov/content/pub/pdf/svpjri1112.pdf.

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          46.   The BOP is aware that gender dysphoria creates a serious medical need for gender

transition treatments, including hormone therapy, and that Maria Moe has a serious medical need

for such treatment. BOP policy expressly allows hormone therapy as a treatment for gender

dysphoria based on an “individualized assessment” by medical staff. 4 If providers determine that

hormone therapy is appropriate for an individual, hormone therapy “will be provided.” 5

Consistent with this policy, the BOP has consistently provided hormone therapy to Maria Moe

for years.

          47.   If Maria Moe’s medically necessary treatment for gender dysphoria is terminated

or restricted under Section 4(c), she will be at a well-known and substantial risk of serious harm.

Medical professionals experienced in the treatment of gender dysphoria and in the prolonged use

of hormones for medical care recognize that the abrupt termination and ongoing denial of

hormone therapy can have disastrous consequences, including serious risk of permanent physical

and emotional harm, severe danger of self-mutilation, and suicidal ideation and attempts.

          48.   In addition, Ms. Doe




4
 U.S. Dep’t of Just., Transgender Offender Manual § 8 (2022), available at
https://www.bop.gov/policy/progstat/5200-08-cn-1.pdf.
5
    Id.

                                                11
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    V.    Executive Order 14166 Facially Classifies on Behalf of Sex and Transgender Status
          and Was Motivated By Discriminatory Animus

          49.    Executive Order 14166 classifies individuals on the basis of sex and transgender

status. It was motivated by a sex-based discriminatory purpose and animus against transgender

people.

          50.    Defendant Trump has been transparent about his hostility toward transgender

people and openly stated his intentions to create legal obstacles to eliminate legal protections for

transgender people and to deter them from obtaining medical care or being able to live in a sex

other than their birth sex. On November 15, 2022, when he announced his candidacy for

President, he explicitly promised to target transgender Americans through executive action. 6 He

pledged a “day one” executive order to “cease all programs that promote the concept of sex and

gender transition at any age.” 7

          51.    Throughout his campaign, Defendant Trump repeatedly characterized transgender

Americans in dehumanizing terms, referring to them as “deranged,” 8 and victims of “madness” 9




6
  ABC Action News, (Full Speech) Former President Trump announces 2024 presidential bid at
48:40-49:13, YouTube (Nov. 15, 2022), https://www.youtube.com/watch?v=8tSYwJ1_htE; id. at
50:39-53 (suggesting he would attempt to ban transgender people from military service).
7
  President Trump’s Plan to Protect Children from Left-Wing Gender Insanity, Trump Vance:
Make America Great Again! 2025 (Feb. 1, 2023),
https://www.donaldjtrump.com/agenda47/president-trumps-plan-to-protect-children-from-left-
wing-gender-insanity.
8
  Gabriel Bertrand, Trump’s Shocking Admission Exposes GOP’s Bigoted Agenda, Medium
(June 17, 2023), https://medium.com/illumination/trumps-shocking-admission-exposes-gop-s-
bigoted-agenda-e981becb2c5f.
9
    President Trump’s Plan to Protect Children from Left-Wing Gender Insanity, supra note 7.

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and “insanity.” 10 He falsely claimed transgender identity was “never heard of in all of human

history” and described transgender healthcare as “mutilation.” 11

          52.    Defendant Trump’s campaign devoted substantial resources to promoting anti-

transgender policies, spending approximately $215 million on advertisements vilifying

transgender Americans. 12 These advertisements comprised over 40 percent of all pro-Trump

campaign messaging in the weeks before the 2024 election.13

          53.    Defendant Trump’s official campaign platform included a “Plan to Protect

Children from Left-Wing Gender Insanity,” which promised to deny legal recognition to

transgender Americans and restrict access to medically necessary healthcare. 14




10
   Jackson Walker, Trump vows to remove 'transgender insanity' and critical race theory from
US schools, IdahoNews (Dec. 23, 2024, 8:37AM), https://idahonews.com/news/nation-
world/trump-vows-to-remove-transgender-insanity-and-critical-race-theory-from-us-schools-
phoeniz-arizona-woke-speech-usa-donald-president-white-house-education-department-crt-trans-
gender-lgbt; Trump and Vance make anti-transgender attacks central to their campaign’s
closing argument, NBC News (Nov. 1, 2024, 10:23 AM), https://www.nbcnews.com/nbc-
out/out-politics-and-policy/donald-trump-jd-vance-transgender-2024-election-rcna178390;
Donald J. Trump, Truth Social (Dec. 18, 2023),
https://truthsocial.com/@realDonaldTrump/posts/111599880929254153; Gabriel Bertrand, supra
note 8; Joe Middleton, Trump attacks transgender rights at Waco rally saying he will ban
‘disfigurement of our youth’, The Independent (Mar. 26, 2023),
https://www.independent.co.uk/news/world/americas/donald-trump-transgender-waco-rally-
b2308177.html.
11
     President Trump’s Plan to Protect Children from Left-Wing Gender Insanity, supra note 7.
12
   Audrey Kemp, What Trump’s win – and $215m worth of anti-trans ads – mean for the future
of campaigning, The Drum (Nov. 6, 2024), https://www.thedrum.com/news/2024/11/06/after-
donald-trump-s-victory-marketers-weigh-their-role-countering-divisive.
13
   Lauren Barrón-López et al., Why anti-transgender political ads are dominating the airwaves
this election, PBS News (Nov. 2, 2024 5:35 PM), https://www.pbs.org/newshour/show/why-anti-
transgender-political-ads-are-dominating-the-airwaves-this-election.
14
     President Trump’s Plan to Protect Children from Left-Wing Gender Insanity, supra note 7.

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        54.     On December 23, 2024, after winning the election, Defendant Trump reaffirmed

his intent to implement discriminatory policies through executive action, stating “with a stroke of

[his] pen on day one,” he would “stop the transgender lunacy” and “get transgender out of the

military and out of our elementary schools and middle schools and high schools.”15

        55.     Executive Order 14166, issued on Defendant Trump’s first day in office,

implements these campaign promises, demonstrating that the discriminatory animus expressed

throughout his campaign was the driving force behind the Order's restrictions on incarcerated

transgender people for medical care and housing.

        56.     The timing, content, and context of Executive Order 14166 demonstrate it was

motivated by and implements the same discriminatory animus Defendant Trump repeatedly

expressed during his campaign, rather than any legitimate government purpose.


                                    CLAIMS FOR RELIEF

                                            COUNT I

                            Challenge to Sections 4(a) and 4(c)
                    Fifth Amendment to the United States Constitution
              Due Process Clause - Deprivation of Equal Protection of the Laws
                    Against All Defendants in Their Official Capacities

        57.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.

        58.     Like the Equal Protection Clause of the Fourteenth Amendment, the Due Process

Clause of the Fifth Amendment prohibits unwarranted discrimination by the federal government.


15
   Azcentral.com and The Arizona Republic, Turning Point USA Donald Trump full speech: The
'golden age of America' begins now, says Trump, Youtube (Dec. 23, 2024),
https://www.youtube.com/watch?v=XuIeXJw6BA8, at 57:02-24.

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       59.     Sections 4(a) and 4(c) unjustifiably discriminate based on sex. They are facial sex

classifications and use explicitly sex-based language to dictate government decision-making.

Section 4(a) compels the BOP to exclude “males” from “women’s prisons.” Section 4(c)

prohibits the use of federal funds for any medical treatment prescribed “for the purpose of

conforming an inmate’s appearance to that of the opposite sex.” Section 4(c)’s express purpose is

to deter all medical treatment deemed inconsistent with birth sex.

       60.     Sections 4(a) and 4(c) require BOP to treat incarcerated people differently

depending on their sex. Under section 4(a), women who are not transgender can go on living in a

women’s facility, while otherwise similarly situated transgender women must be transferred to a

men’s facility based on their birth sex. Similarly, under Section 4(c), women who are not

transgender are able to obtain the same medical treatments that are prohibited if they are

prescribed for transgender women.

       61.     Under the Fifth Amendment, sex classifications are subject to heightened scrutiny

and are presumptively unconstitutional.

       62.     Sections 4(a) and 4(c) also discriminate based on transgender status. Section 4(a)

requires dangerous transfers to men’s facilities for all transgender women, solely because they

are transgender. Section 4(c) denies medically necessary healthcare to transgender people, solely

because they are transgender.

       63.     Under the Fifth Amendment, classifications based on transgender status are sex-

based classifications that are subject to heightened scrutiny.

       64.     Classifications based on transgender status are also subject to heightened scrutiny

because transgender people constitute a quasi-suspect class. Transgender people are a discrete



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and identifiable group of people with one shared distinguishing characteristic: they identify and

seek to live as a sex different than their birth sex. This defining characteristic bears no relation to

a transgender person’s ability to contribute to society. Nevertheless, transgender people have

faced historical discrimination in law and in fact, and they have been unable to secure equality

through the political process.

        65.     There is no legitimate penological purpose or other legitimate basis for Section

4(a)’s dangerous transfer requirement or Section 4(c)’s categorical healthcare ban.

        66.     Neither Section 4(a) nor Section 4(c) is narrowly tailored to further a compelling

government interest or substantially related to an important government interest. Moreover,

Sections 4(a) and 4(c) are not even rationally related to a government interest. Accordingly, these

aspects of Executive Order 14166 violate the Fifth Amendment.

        67.     If Section 4(a) and 4(c) are implemented, Maria Moe will suffer irreparable

injury, including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.

                                             COUNT II

                                   Challenge to Section 4(a)
                     Eighth Amendment to the United States Constitution
                                      Failure to Protect
                      Against All Defendants in Their Official Capacities

        68.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.

        69.     Under the Eighth Amendment, Maria Moe is entitled to be free from a known and

substantial risk of serious harm while in BOP custody.




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       70.       Transferring Maria Moe to a men’s prison will pose a substantial risk of serious

harm, including an extremely high risk of violence and sexual assault from other incarcerated

people and BOP staff. In a men’s prison, Maria Moe will also be at high risk of worsening

gender dysphoria, which can lead to serious physical and mental health conditions including

severe depression and suicidality. These risks are obvious, well-documented, and well known to

BOP officials.

       71.       The risk of sexual violence to transgender people in prison is recognized in

existing federal regulations. 28 C.F.R. § 115.41(d)(7) requires BOP officials to consider an

individual’s transgender status as a factor increasing their “risk of sexual victimization.” An

individual’s sexual victimization risk must be considered as part of all housing and transfer

decisions. Id. § 115.41. Decisions about whether to house a transgender person in a men’s or

women’s facility must be made “on a case-by-case basis” to ensure the individual’s “health and

safety” and the security of the facility. Id. § 115.42(c). Given the extremely high safety risks for

transgender people in BOP custody, housing placements for transgender people “shall be

reassessed at least twice a year to review any threats to safety.” Id. § 115.42(d).

       72.       Section 4(a) of the Order contains a citation to 28 C.F.R. § 115.41, indicating that

Defendant Trump was aware of transgender women’s heightened risk of sexual victimization and

the federal regulatory scheme that requires individualized housing placements to ensure their

safety. Nevertheless, Defendant Trump intentionally directed the Attorney General to “amend[]”

§ 115.41 “as necessary” to ensure that all transgender women would be transferred to men’s

facilities, no matter how dangerous, without regard for their safety and security. The President’s




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intentional disregard of a known and substantial risk of serious harm to transgender women in

BOP custody, including Maria Moe, violates the Eighth Amendment.

        73.     Defendants McHenry and Lathrop are well aware of the grave risks Maria Moe

will face if she is transferred to a men’s prison, but they are actively enforcing Section 4(a) and

have caused BOP officials to initiate her transfer anyway. Their decision to disregard the known

and substantial risks of serious harm violates Maria Moe’s rights under the Eighth Amendment.

        74.     If Section 4(a) is implemented, Maria Moe will suffer irreparable injury,

including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.



                                            COUNT III

                                   Challenge to Section 4(c)
                     Eighth Amendment to the United States Constitution
                               Medical Deliberate Indifference
                      Against All Defendants in Their Official Capacities

        75.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.

        76.     A prison official who has knowledge of an individual’s serious need for medical

care and intentionally refuses to provide that care acts with deliberate indifference and therefore

violates the Eighth Amendment’s prohibition on cruel and unusual punishment.

        77.     Maria Moe has a serious medical need for hormone therapy as treatment for her

gender dysphoria, which is a rare and serious health condition. Abrupt termination of this

treatment would violate the applicable standard of care and subject her to a known and

substantial risk of serious harm.


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        78.     Terminating Maria Moe’s hormone therapy would contravene her medical

providers’ consistent professional judgment that she needs continuous treatment for her gender

dysphoria, as both the BOP                             have recognized. Denying Maria Moe this

medically necessary healthcare would constitute deliberate indifference to her serious medical

needs and would violate the Eighth Amendment’s prohibition on cruel and unusual punishment.

        79.     Section 4(c) of the Order, which was issued by Defendant Trump and is being

implemented by all other Defendants, establishes a blanket rule banning medically necessary

treatments for all transgender people in BOP custody, without consideration of any individual’s

medical needs or their healthcare providers’ independent medical judgment. As such, Section

4(c) constitutes deliberate indifference to the serious medical needs of all transgender people in

BOP custody and violates the Eighth Amendment’s prohibition on cruel and unusual

punishment.

        80.     If Section 4(c) is implemented, Maria Moe will suffer irreparable injury,

including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.


                                           COUNT IV

                                   Challenge to Section 4(a)
                           Rehabilitation Act of 1973, Section 504
                            Failure to Accommodate a Disability
                      Against All Defendants in Their Official Capacities

        81.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.




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       82.     Maria Moe has a current diagnosis of gender dysphoria as well as a record of

gender dysphoria that is known to BOP officials.

       83.     Gender dysphoria is a serious medical condition that qualifies as a disability. It is

a physical impairment that substantially limits the major life activities of interacting with others,

reproduction, social and occupational functioning, and caring for oneself.

       84.     Housing Maria Moe in a women’s facility is a reasonable accommodation for her

gender dysphoria and is part of the recommended treatment protocol set forth by the applicable

standards of care and clinical practice guidelines.

       85.     Continuing to house Maria Moe at                   or another women’s facility

would not materially impair the safe and efficient operation of the facility or the BOP generally,

present a safety hazard to any staff or other incarcerated person, threaten the security of the

facility, or otherwise cause undue hardship.

       86.     Continuing to house Maria Moe at                   or another women’s facility

would not fundamentally alter the nature of any service, program, or activity.

       87.     Involuntarily transferring Maria Moe to a men’s facility under Section 4(a) of the

Order would be a cruel and unnecessary revocation of this reasonable accommodation and would

deny her equal benefits of correctional and rehabilitative programs and services, including but

not limited to safe housing, showers, and healthcare consistent with accepted medical standards.

Accordingly, Section 4(a) violates Section 504 of the Rehabilitation Act of 1973.

       88.     If Section 4(a) is implemented, Maria Moe will suffer irreparable injury,

including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.



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                                            COUNT V

                                   Challenge to Section 4(c)
                           Rehabilitation Act of 1973, Section 504
                                   Disability Discrimination
                      Against All Defendants in Their Official Capacities

        89.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.

        90.     Section 4(c) categorically bans medical treatments, regardless of medical need, if

they are prescribed to “conform[] an inmate’s appearance to that of the opposite sex”—meaning

treatments are banned only if they are prescribed to treat gender dysphoria.

        91.     Section 4(c) discriminates based on disability by excluding people with gender

dysphoria, including Maria Moe, from accessing medically necessary healthcare services that are

provided to all other people in BOP custody based on medical need. Accordingly, Section 4(c)

violates Section 504 of the Rehabilitation Act of 1973.

        92.     If Section 4(c) is implemented, Maria Moe will suffer irreparable injury,

including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.

                                           COUNT VI

                            Challenge to Sections 4(a) and 4(c)
                              Administrative Procedures Act
          Arbitrary and Capricious, Unlawful, and Unconstitutional Agency Action
                Taken Without Observance of Procedure Required By Law
                    Against Defendant Lothrop in His Official Capacity

        93.     Plaintiff incorporates all preceding paragraphs of the Complaint as though fully

set forth herein.



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       94.     BOP’s actions to implement Sections 2, 4(a), and 4(c) of the Executive Order

constitute final agency action that has harmed Maria Moe, affected her legal rights, and subjected

her to an imminent risk of further harm.

       95.     BOP’s decision to transfer Maria Moe to a men’s facility and the imminent threat

to deny her necessary medical care solely because of her birth sex and transgender status are

unconstitutional.

       96.     BOP’s decision to transfer Maria Moe to a men’s facility solely because of her

birth sex and transgender status is arbitrary and capricious.

       97.     BOP’s decision to deny Maria Moe medically necessary care to treat her gender

dysphoria solely because of her birth sex and transgender status is arbitrary and capricious.

       98.     BOP’s decision to transfer Maria Moe to a men’s facility solely because of her

birth sex and transgender status is contrary to law as set forth in 28 C.F.R. §§ 115.41–42.

       99.     For BOP’s transfer decision to be lawful, amendments to 28 C.F.R. §§ 115.41–42

would have to be made through notice-and-comment rulemaking. Section 4(a) directs the

Attorney General to make such an “amendment,” but no amendment has been made at this time.

BOP’s decision to transfer Maria Moe prior to a valid amendment to 28 C.F.R. §§ 115.41–42

was made without observance of procedure required by law.

       100.    BOP’s decision to transfer Maria Moe without conducting an individualized

assessment of all relevant circumstances, including her safety, was made without observance of

procedure required by law.




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       101.    If Sections 4(a) and 4(c) are implemented, Maria Moe will suffer irreparable

injury, including serious physical, psychological and emotional harm, mental anguish, distress,

humiliation, and indignity.


                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court grant the following relief:

   (1) Issue a judgment under 28 U.S.C. §§ 2201–02 declaring that Sections 4(a) and 4(c) of

       Executive Order 14166 violate Plaintiff’s rights under the Fifth and Eighth Amendments

       to the United States Constitution, the Rehabilitation Act of 1973, and the Administrative

       Procedure Act for the reasons and on the Counts set forth above;

   (2) Enter a preliminary and permanent injunction prohibiting Defendants and their officers,

       employees, servants, agents, appointees, and successors from enforcing Sections 4(a) and

       4(c) of Executive Order 14166, and requiring Defendants to maintain Plaintiff’s housing

       and medical treatment consistent with the status quo before January 20, 2025;

   (3) Award Plaintiff nominal damages, as well as her costs, expenses, and reasonable

       attorneys’ fees pursuant to 28 U.S.C. § 2412, 42 U.S.C. § 12205, and other applicable

       laws; and

   (4) Grant such other and further relief as the Court deems just and proper.




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                                      Respectfully submitted,

                                      /s/Jennifer Levi
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